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                         IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: Tyesha Star Rodgers                                                            CHAPTER 7
                                   Debtor(s)

M&T Bank
                                   Movant
                vs.                                                                NO. 19-17832 JKF

Tyesha Star Rodgers
                                   Debtor(s)

Gary F. Seitz Esq.
                                   Trustee                                        11 U.S.C. Section 362

                                     MOTION OF M&T Bank
                             FOR RELIEF FROM THE AUTOMATIC STAY
                                      UNDER SECTION 362

         1.      The Movant is M&T Bank.

         2.      The Debtor(s) is/are the owner(s) of the premises 1304 Wagner Avenue, Philadelphia, PA

 19141 hereinafter referred to as the mortgaged premises.

         3.      Movant is the holder of a mortgage, original principal amount of $150,130.00 on the

 mortgaged premises that was executed on March 3, 2015. Said mortgage was recorded on March 5, 2015

 at Document ID Number 52888701. The Mortgage was subsequently assigned to Movant by way of

 Assignment of Mortgage recorded on October 24, 2016, at Document ID Number 53128534 in

 Philadelphia County.

         4.          Gary F. Seitz Esq., is the Trustee appointed by the Court.

         5.      The commencement and/or continuation of the mortgage foreclosure proceedings by reason

 of non-payment of monthly mortgage payments were stayed by the filing of a Chapter 7 Petition in

 Bankruptcy by the Debtor(s).

         6.      The Debtor(s) has/have failed to make the monthly mortgage payments in the amount of

 $920.44 with late charges totaling $103.64, for the months of January 2020 through March 2020 on the

 mortgage subsequent to the filing of the Bankruptcy Petition.

         7.      The total amount necessary to reinstate the loan is $2,864.96.
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        8.      The total payoff on the mortgage is $118,678.08.

        9.      According to the debtor’s schedules, the value of the property is $110,600.00

        10.     The Movant is entitled to relief from stay for cause. Furthermore, the Movant is not

adequately protected.

        11.     This motion and the averments contained therein do not constitute a waiver by the

Movant of its right to seek reimbursement of any amounts not included in this motion, including fees and

costs, due under the terms of the mortgage and applicable law.

        WHEREFORE, the Movant prays that an Order be entered modifying the Stay and permitting the

Movant to proceed with its mortgage foreclosure on the mortgaged premises, and to allow the Sheriff's

Grantee to take any legal action to enforce its right to possession of the mortgage premises. Further, the

Movant prays that an Order be entered awarding the Movant the costs of this suit, reasonable attorney's fees

in accordance with the mortgage document and current law together with interest.

                                                       /s/ Rebecca A. Solarz, Esquire
                                                       Rebecca A. Solarz, Esquire
                                                       KML Law Group, P.C.
                                                       701 Market Street, Suite 5000
                                                       Philadelphia, PA 19106-1532
                                                       Phone: (215) 627-1322 Fax: (215) 627-7734
Dated: March 17, 2020
